                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF NORTH CAROLINA



CUAUHTEMOC VILLA,                             )
                                              )
                             Petitioner,      )
                                              )
                       v.                     )       1:08CV791
                                              )       1:06CR434-1
UNITED STATES OF AMERICA,                     )
                                              )
                             Respondent.      )


                      MEMORANDUM OPINION AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

       Petitioner Cuauhtemoc Villa, a federal prisoner, has filed a

motion to vacate, set aside, or correct sentence pursuant to 28

U.S.C. § 2255.              (Docket No. 66.)1      Petitioner was originally

indicted       on    one    count   of   conspiracy    to    distribute      cocaine

hydrochloride and one count of distributing cocaine hydrochloride.

(Docket No. 1.)         He later pled guilty to the conspiracy count and

was sentenced to 70 months of imprisonment.                 (Docket Nos. 26, 27,

33.)       Petitioner did pursue a direct appeal, but was unsuccessful

in that endeavor. (Docket Nos. 57, 58.) Petitioner next filed his

current motion under § 2255.               Respondent has filed a response

seeking to have the motion denied. (Docket No. 77.) Despite being

informed of his right to file a reply brief in a letter dated

February 2, 2009, Petitioner has made no such filing.                  (Docket No.

78.)       His motion is now before the Court for a decision.




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        This and all further cites to the record are to the criminal case.




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                                   FACTS

     The facts of the case, as reflected in the factual basis

supporting Petitioner’s guilty plea and in the Presentence Report

(PSR) are as follows.     Durham police caught Jessie Wright, Jr. and

Mayra Jeanette with a considerable amount of cocaine base and

cocaine hydrochloride.       Wright told police that a Hispanic male

known as “Pio” had been supplying him with cocaine for over a year.

“Pio” was later identified as Petitioner’s co-defendant Pioquinto

Penaloza-Banos.    Wright added that Petitioner had accompanied

Penaloza-Banos on one prior trip to deliver two kilograms of

cocaine.

     Wright agreed to arrange a five-kilogram cocaine deal with

Penaloza-Banos.     Once     he   did   so,   audio   and      video   recording

equipment was placed in Wright’s residence.              Penaloza-Banos and

Petitioner   arrived    at   Wright’s     residence    with     Penaloza-Banos

driving a black Ford Focus.         He parked the vehicle in Wright’s

garage. Petitioner used a tool to open a hidden compartment in the

Focus’s bumper.        The cocaine was removed, and Penaloza-Banos

carried it into Wright’s house.           Video footage showed Penaloza-

Banos conducting the drug deal while Petitioner stood behind him.

They were arrested at the scene.

     After his arrest, Petitioner waived his rights and spoke with

law enforcement.   He admitted that he had allowed Penaloza-Banos,

who is his cousin, to register the black Ford Focus in his

(Petitioner’s) name, that he knew about the hidden compartment,

that he had also accompanied Penaloza-Banos on a two-kilogram deal


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two weeks before, and that Penaloza-Banos was supposed to pay him

$500.00 for his participation in the five-kilogram deal.

                                    DISCUSSION

     In    his    §   2255   motion,    Petitioner     raises      two    claims       of

ineffective assistance of counsel.              In order to prove ineffective

assistance of counsel, a petitioner must establish, first, that his

attorney's performance fell below a reasonable standard for defense

attorneys and, second, that he was prejudiced by this performance.

See Strickland v. Washington, 466 U.S. 668 (1984).                    A petitioner

bears the burden of affirmatively showing deficient performance.

See Spencer v. Murray, 18 F.3d 229, 233 (4th Cir. 1994).                               To

establish    prejudice,         Petitioner    must    show   that     there       is    a

reasonable       probability     that   but   for    counsel's     unprofessional

errors, the result of the proceeding would have been different.

Strickland, 466 U.S. at 694.

     Petitioner’s first claim asserts that he received ineffective

assistance       of   counsel    when   his   attorney    failed     to   argue        at

sentencing that Petitioner was a minor or minimal participant in

the drug conspiracy.            If successful, this argument would have

resulted in a reduction of Petitioner’s sentencing level under the

United States Sentencing Guidelines by two to four levels.                        USSG

§ 3B1.2.         In Petitioner’s second claim, he contends that his

attorney erroneously failed to argue that Amendment 668 to the

United States Sentencing Guidelines, which was effective as of

November 1, 2004, capped Petitioner’s base offense level at 30. It

was calculated to be 32.          (PSR ¶ 15.)       Amendment 668 altered USSG


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§ 2D1.1(a)(3) to read as it currently does. That subsection of the

Guidelines allows for a further reduction in a defendant’s offense

level if the defendant receives a minor or minimal role reduction

under USSG § 3B1.2.      Therefore, Petitioner’s second claim for

relief is viable only if he succeeds as to his first claim.

     A mitigated role adjustment under USSG § 3B1.2 is appropriate

where there is “‘group conduct and a particular defendant is less

culpable than other members of the group to such a degree that a

distinction should be made at sentencing between him and the other

participants.’”    United States v. Pratt, 239 F.3d 640, 646 (4th

Cir. 2001)(quoting United States v. Gordon, 895 F.2d 932, 935 (4th

Cir. 1990)).      However, while comparing the relative roles of

members of a conspiracy is a part of the decision to apply the

adjustment, a court must also consider a defendant’s acts against

the elements of the offense.      “‘The critical inquiry is thus not

just whether the defendant has done fewer “bad acts” than his

co-defendants, but whether the defendant's conduct is material or

essential to committing the offense.’”      Id. (quoting United States
v. Palinkas, 938 F.2d 456, 460 (4th Cir. 1991)).

     Here, Petitioner’s involvement in the drug conspiracy was

certainly less than the involvement of his co-defendant, Penaloza-

Banos.   Penaloza-Banos was the person who arranged the drug deal

and negotiated the terms.    He also drove the car and appeared to be

in control of the transaction.       Still, Petitioner did engage in

conduct that was material and essential to the conspiracy.            As his

attorney notes in his affidavit when explaining why he did not seek


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a   mitigating      role    adjustment,       Petitioner      facilitated       the

transportation of the drugs by allowing the car to be registered in

his name and actively helped in removing the drugs from the hidden

compartment.      (Docket No. 77, Ex. 1.)         He also made at least two

trips and was to be paid the sum of $500.00 for the second trip.

     In light of those facts, and the fact that Petitioner was

already receiving reductions in his offense level under a safety

valve     provision   and   for   acceptance        of   responsibility,        his

attorney’s decision not to make an attempt at a mitigating role

adjustment cannot be said to fall below the reasonable standards

for defense attorneys.

     Petitioner also cannot show prejudice.               The Pratt case cited

above is factually similar to the present case and cuts solidly

against     Petitioner’s     argument     that     there     is   a    reasonable

probability that a mitigating role adjustment would have applied if

counsel had sought it.          In Pratt, the defendant (Pratt) was a

passenger in a car where drugs were found.                 He admitted that he

knew the drugs were in the car, but maintained that the drugs

belonged to others, that the car and a hotel room where the drugs

were delivered were rented by his co-defendant/driver, that his co-

defendant/driver had arranged the drug deal, and that he was merely

a passenger.     The defendant did have the telephone number for the

person who was to receive the drugs in his wallet.                        He also

admitted to having made one prior trip with same driver and to

having been paid $2000 that trip.              Pratt, 239 F.3d at 642-43.
Pratt’s attorney did seek a mitigating role adjustment, but the


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sentencing judge denied the adjustment.        That decision was upheld

by the Fourth Circuit.

      Like Pratt, Petitioner made only two drug transportation

trips, rode as a passenger, was paid a substantial but not overly

large sum of money for one trip, and was generally along to help

out as needed.   Most or all of the arrangements for the drug deals

were made by his co-defendant.      Just as Pratt was not entitled to

the adjustment, neither would Petitioner have been entitled to it.

If anything, Petitioner did more to facilitate the offense than

Pratt when he allowed the car to be registered in his name, knew of

the hidden compartment concealing the cocaine, and helped to open

it.   Petitioner was not prejudiced by his attorney’s failure to

raise a meritless argument. Petitioner has established neither the

error nor prejudice prongs of his first claim for relief.                  It

should be denied.

      As for Petitioner’s second claim, the fact that he could not

have succeeded in receiving a mitigating role adjustment under USSG

§ 3B1.2 means that he was not eligible for the downward adjustment

set out in USSG § 2D1.1(a)(3).      Again, his attorney did not err in

failing to request that adjustment, and Petitioner suffered no

prejudice.   This claim too should be denied.




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     IT   IS   THEREFORE   RECOMMENDED     that   Petitioner’s     motion   to

vacate, set aside, or correct sentence (Docket No. 66) be DENIED

and that Judgment be entered dismissing this action.




                                /s/ Donald P. Dietrich
                                    Donald P. Dietrich
                              United States Magistrate Judge

April 30, 2009




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